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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

____________________________________
                                    :
UNITED STATES OF AMERICA,           :                  Criminal No. 04-280 (FSH)
                                    :
                                    :
            v.                      :                  ORDER
                                    :
RAKIM BASKERVILLE,                  :                  September 16, 2010
                                    :
                  Defendant.        :
____________________________________:

       This matter having come before the Court on Defendant Baskerville’s “Motion for

Production of Officer Snowden’s Personnel File Pursuant to F.R.Crim.P. 60(b)(2),” (docket # 634);

and the Court having received an opposition from the Government dated August 11, 2010; and the

Court noting that on February 3, 2010, this Court issued an Opinion and Order denying

Baskerville’s Rule 33 motion relating to the use of Snowden’s Personnel File; and the Court further

noting that Defendant filed an appeal of this Order on February 16, 2010; and the Court finding that

it lacks jurisdiction to reach the merits of Defendant’s current motion because Defendant’s appeal of

this Court’s February 3, 2010 Order divests this Court of jurisdiction, see Griggs v. Provident

Consumer Discount Co., 459 U.S. 56, 58 (1982) (a “[t]he filing of a notice of appeal is an event of

jurisdictional significance- it confers jurisdiction on a court of appeals and divests the district court

of its control over those aspects of the case involved in the appeal.”); and the Court therefore finding

that it must deny Defendant’s motion,

       IT IS THEREFORE on this 16th day of September, 2010,

       ORDERED that Defendant’s Motion for Production of Officer Snowden’s Personnel File

Pursuant to F.R.Crim.P. 60(b)(2) is DENIED.

                                                               s/ Faith S. Hochberg
                                                               Faith S. Hochberg, U.S.D.J.
